 

Case 1:05-cv-01021-STA Document 17 Filed 08/05/05 Page 1 of 2 PagelD 19
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UN|TED STATES DlSTRlCT COURT 4(@ \.
FOR THE WESTERN DlsTRlCT oF TENNESSEE ~5 \O
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culoEoNE TAY\_OR BALL ` f--i‘g»,,,;:€`/‘Ci@
coNsTRucTioN sER\/lcEs, th_, "b .5@/0$?/
vs.

F|RST BAPT|ST CHURCH OF
SELN|ER, TENNESSEEl

Defendant, Counter-F’laintil‘fl No. 1-05~1021-T1An
and Third-Party Plaintii‘fl

VS.

ASKEW, HARGRAVES HARCOURT

& ASSOC|ATES, |NC; CURT|SS H. DOSS;
and |V|CGEHEE, NlCHOLSON, & BURKE,
P.C.,

Third-Party Defendants.

 

ORDER OF D|S|V||SSAL

 

lt appears to the court that the detendant/third-party plaintiff Askew, Hargra\resl Harcourt
& Associates, lnc., voluntarily dismisses its cause of action against Curtiss l-l. Doss, individually
Therefore, Askew, Hargraves, Harcourt & Associates, lnc.’s Third-Party Complaint against
Curtiss H. Doss individually may be dismissed without prejudice

lt is, therefore, considered and ordered that Askew, Hargraves, Harcourt & Associates,
lnc.’s Third-Party Complaint against Curtiss H. Doss individually be and the same is hereby
dismissed without prejudice at costs of the defendant/third-party plaintiff Askew, Hargraves,

Harcourt and Associates, |nc.

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DATE: § UJW Q-M_S/
This document entered on the docket e tin compliance

with Rule 58 and,’or_?Q (a) FRCP on 5

 

OF TENNESSEE

thice of Distribution

This notice confirms a copy cf the document docketed as number 17 in
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August 5, 2005 to the parties listed.

 

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Honcrable J ames Tcdd
US DISTRICT COURT

